UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                        :
 CHECKMATE.COM, INC.,                                                   :
                                                                        :
                                     Plaintiff,                         :    25-CV-3181 (JMF)
                                                                        :
                   -v-                                                  :        ORDER
                                                                        :
 ARJUN VASAN,                                                           :
                                                                        :
                                     Defendant.                         :
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JESSE M. FURMAN, United States District Judge:

        On April 21, 2025, Defendant filed a motion to dismiss the complaint under Rule 12(b)
of the Federal Rules of Civil Procedure. Under Rule 15(a)(1)(B), a plaintiff has twenty-one (21)
days after the service of a motion under Rule 12(b) to amend the complaint once as a matter of
course.

        Accordingly, it is hereby ORDERED that Plaintiff shall file any amended complaint by
May 12, 2025. Pursuant to Local Civil Rule 15.1, available at https://www.nysd.uscourts.gov/
rules, any amended complaint should be filed with a redline showing all differences between the
original and revised filings. Plaintiff will not be given any further opportunity to amend the
complaint to address issues raised by the motion to dismiss.

        If Plaintiff does amend, by three (3) weeks after the amended complaint is filed,
Defendant shall: (1) file an answer; (2) file a new motion to dismiss; or (3) file a letter on ECF
stating that he relies on the previously filed motion to dismiss. If Defendant files an answer or a
new motion to dismiss, the Court will deny the previously filed motion to dismiss as moot. If
Defendant files a new motion to dismiss or indicates that he relies on its previously filed motion
to dismiss, any opposition shall be filed within fourteen days, and any reply shall be filed within
seven days of any opposition.

       If no amended complaint is filed, Plaintiff shall file any opposition to the motion to
dismiss by May 12, 2025. Defendant’s reply, if any, shall be filed by May 19, 2025.

     The Clerk of Court is directed to terminate ECF No. 11 (which is Defendant’s
memorandum, not the notice of his motion) and to mail this Order to the Defendant.

        SO ORDERED.

Dated: April 24, 2025                                      __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
